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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION FOR THE                 )
ADVANCEMENT OF COLORED                       )
PEOPLE,                                      )
                                             )
                      Plaintiff,             )
                                             )
v.                                           ) Civil Action No. 20-cv-2295 (EGS)
                                             )
UNITED STATES POSTAL SERVICE,                )
et al.,                                      )
                                             )
                      Defendants.            )
                                             )

                                   JOINT STATUS REPORT

       Based on witness availability, the parties respectfully suggest that this Court schedule a

status conference for 3pm today, October 31, 2020.

October 31, 2020                     Respectfully submitted,

                                                                                            /s/
                                            Allison M. Zieve
Samuel Spital (D.D.C. Bar No. SS4839)       Allison M. Zieve (DC Bar No. 424786)
Rachel Kleinman (NY Bar No. 4417903)        Matthew A. Seligman (DC Bar No. 1018889)
Monique Lin-Luse (NY Bar No. 5671920)       PUBLIC CITIZEN LITIGATION GROUP
J. Zachery Morris (NY Bar No. 5392196)      1600 20th Street NW
John S. Cusick (NY Bar No. 5585245)         Washington, DC 20009
NAACP LEGAL DEFENSE &                       (202) 588-1000
    EDUCATIONAL FUND, INC.
40 Rector Street, 5th Floor
New York, NY 10006
(212) 965-2200
                                Counsel for Plaintiff NAACP


                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             ERIC R. WOMACK
                                             Assistant Director, Federal Programs Branch

                                             /s/ Joseph E. Borson
                                             JOSEPH E. BORSON (Va. Bar No. 85519)
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                           KUNTAL CHOLERA
                           ALEXIS ECHOLS
                           DENA M. ROTH
                           JOHN ROBINSON
                           Trial Attorneys
                           U.S. Department of Justice
                           Civil Division, Federal Programs Branch
                           1100 L. Street, NW
                           Washington D.C. 20005
                           (202) 514-1944
                           Joseph.Borson@usdoj.gov

                           Attorneys for Defendants




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